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 2     REED GRANTHAM, CA Bar #294171
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 6     Attorneys for Defendant
       AMY WILLIAMS
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11      UNITED STATES OF AMERICA,                      Case No. 1:21-cr-00224-NODJ-BAM-2
12                       Plaintiff,                    STIPULATION TO VACATE STATUS
                                                       CONFERENCE AND SET TRIAL
13      vs.                                            CONFIRMATION AND TRIAL DATES; AND
                                                       ORDER
14      AMY WILLIAMS,
15                       Defendant.
16
17            IT IS HEREBY STIPULATED by and between the parties through their respective
18     counsel, Assistant United States Attorney Stephanie Stokman, counsel for plaintiff, and Assistant
19     Federal Defender Reed Grantham, counsel for Amy Williams, that the status conference hearing
20     currently scheduled for February 26, 2025, at 1:00 p.m. may be vacated, and that a trial
21     confirmation date be set on November 3, 2025, at 9:00 a.m. and a trial date be set on November
22     18, 2025, at 8:30 a.m.
23            The parties have met and conferred and agree to set this case for trial on November 18,
24     2025, and to exclude time to that date. This date has been cleared with the Court’s clerk. The
25     parties estimate the trial will last between 2 and 3 days. The parties have also agreed to set a trial
26     confirmation hearing on November 3, 2025.
27            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
28     within which trial must commence, the time period to November 18, 2025, inclusive, is deemed
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 1     excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i), (ii) and (iv) because it
 2     results from a continuance granted by the Court at defendant’s request on the basis of the Court’s
 3     finding that the ends of justice served by taking such action outweigh the best interest of the
 4     public and the defendant in a speedy trial.
 5
                                                     Respectfully submitted,
 6
 7                                                   MICHELE BECKWITH
                                                     Acting United States Attorney
 8
 9     Date: February 20, 2025                       /s/ Stephanie Stokman
                                                     STEPHANIE STOKMAN
10                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
11
12                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
13
14     Date: February 20, 2025                       /s/ Reed Grantham
                                                     REED GRANTHAM
15                                                   Assistant Federal Defender
                                                     Attorney for Defendant
16                                                   AMY WILLIAMS
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        Williams – Stipulation to Set Trial             2
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 1                                                  ORDER
 2               IT IS SO ORDERED that the status conference set for February 26, 2025, is vacated. A

 3     jury trial is set for November 18, 2025, at 8:30 a.m. in Courtroom 5 before the District Court

 4     Judge. Estimate time of trial is 2-3 days. A trial confirmation is set for November 3, 2025, at

 5     8:30 a.m. in Courtroom 5 before the District Court Judge. Time is excluded through trial

 6     pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i), (ii) and (iv).

 7
       IT IS SO ORDERED.
 8
 9         Dated:          February 20, 2025                   /s/ Barbara A. McAuliffe           _
                                                           UNITED STATES MAGISTRATE JUDGE
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        Williams – Stipulation to Set Trial            3
